                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                    CRIMINAL CASE NO. 3:08-CR-00134-2-RJC-DSC


 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                                                    )                   ORDER
 v.                                                 )
                                                    )
 ALEJANDRO UMANA,                                   )
                                                    )
                   Defendant.                       )



         THIS MATTER is before the Court on the “Application[s] for Admission to Practice Pro

Hac Vice [for Zandra L. Lopez] …” (documents #1623 and 1626). Movant has now paid the

required filing fee. Accordingly, the Application for Admission to Practice Pro Hac Vice

(document #1623) will be granted.


         The Application for Admission to Practice Pro Hac Vice (document #1626) is denied as

moot.


         The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Robert J. Conrad, Jr.


         SO ORDERED.
                                          Signed: July 24, 2015




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